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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS



   CHEMETCO SITE PRP GROUP,

          Plaintiff                                        Civil Action No.3:18-CV-00179

   VS.


   A SQUARE SYSTEMS, INC; et al.

          Defendant




                                                 ANSWER




          The Defendant, A&J Salvage, in response to the Complaint filed on behalf of the

   Plaintiff, would respectfully respond as follows:

           1.     As an affirmative defense to the Plaintiffs Complaint, A&J Salvage would

   respectfully submit it is a Tennessee LLC and not subject to the jurisdiction of the Illinois

   District Court for the Southern District of Illinois.

          2.      As an affirmative defense to the Plaintiffs Complaint, the Defendant would

   respectfully state that the Plaintiffs claims are barred by all applicable statutes of limitations.

   According to the Plaintiffs allegations, the Defendant allegedly sold seventy-three (73) pounds

   of scrap material to Chemetco in 1989.

           3.      As an additional affirmative defense to the Plaintiff's Complaint, the Defendant

   would respectfully state that the original owner and members of said company from 1989 have
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   long since retired and sold the company to its present owner who assumed no responsibility or

   liability for the previous actions of its owners/members.

          4.      In response to the specific paragraphs in the Plaintiffs Complaint concerning

  Defendant A&J Salvage (paragraphs 147-148). Defendant A&.I Salvage denies that it ever sold

  or contributed any materials to the Chcmetco Site. Further. If any materials were purchased from

  A&J Salvage, said materials, would not have contained hazardous substances.

          5.      All other allegations in the FlaintifTs Complaint are denied.

          WHEREFORE, now having fully responded to the Plaintiff s Complaint. Defendant A &

  J Salvage respectfully moves that it be dismissed as a Defendant in this matter.

                      Respectfully submitted this the    iji day of April. 2018.
                                                A&J SALVAGE



                                                BY:
                                                           ck Jol^^ a. President




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                                  CERTIFICATE OF SERVICE



           I hereby certify that a copy of the foregoing Answer has been forwarded via United States
   Postal Service First-Class Mail, postage prepaid, to the following;

                 Rachel Gulhrie
                 The Justis Law Firm
                  10955 Lowell Avenue, Suite 520
                 Overland Park. Kansas    66210-2336


          On this the ^^ day ofApril, 2018.

                                               JockUohnsdn. President of A & J Salvage




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A&J Salvage                                      TM -vSO

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